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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                               NORTHERN DIVISION


MONALETHA CLINCY,

                             Plaintiff,

v.                                                    CAUSE NO. 3:23-CV-547-CWR-LGI

PACKAGING CORPORATION OF
AMERICA, et al.,

                             Defendants.


                                            ORDER

       On February 3, 2025, this Court issued an Order deeming admitted Plaintiff’s first set

of requests for admissions. Plaintiff subsequently moved for partial summary judgment.

Defendant Packaging Corporation of America (PCA) timely responded in opposition.

       On February 24, 2025, counsel for PCA emailed the chambers of the Magistrate Judge

requesting a telephone conference. He seeks permission to file a motion to alter or amend the

February 3 ruling.

       The Court finds it appropriate to consider the motion for partial summary judgment

alongside any motion to alter or amend. Accordingly, to the extent PCA wishes to present

arguments for alteration or amendment that are not already contained in its opposition to

partial summary judgment, it has until March 6, 2025 to file such a motion. No pre-motion

telephonic conference is required in this instance.

       SO ORDERED, this the 27th day of February, 2025.

                                            s/ Carlton W. Reeves
                                            UNITED STATES DISTRICT JUDGE
